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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

SAMA CAMP, LLC,
        Plaintiff,
v.                                                  CIVIL ACTION NO. 1:22-cv-01722-TCB

SAMA TEA, LLC; SAMA
WORLDWIDE INC.; SAMA
BEVERAGES, LLC; 100.CO; JAY
SHETTY; RADHI DEVLUKIA
SHETTY; KIM PERELL; and JAMES
BRENNAN,
        Defendants.
             CERTIFICATE OF SERVICE REGARDING DISCOVERY
        Pursuant to Local Rule 5.4, the undersigned hereby certifies that on August

22, 2022, Plaintiff served on all parties of record the following discovery items:

        1.       Plaintiff’s Initial Disclosures;

        2.       Plaintiff’s First Set of Interrogatories to Sama Worldwide Inc.;

        3.       Plaintiff’s First Set of Requests for Production of Documents to Sama

Worldwide Inc.;

        4.       Plaintiff’s Notice of Rule 30(b)(6) Deposition of Sama Worldwide

Inc.;

        5.       Plaintiff’s First Set of Interrogatories to 100.co Global Holdings,

LLC;
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      6.       Plaintiff’s First Set of Requests for Production of Documents to

100.co Global Holdings, LLC;

      7.       Plaintiff’s Notice of Rule 30(b)(6) Deposition of 100.co Global

Holdings, LLC;

      8.       Plaintiff’s First Set of Interrogatories to Jay Shetty;

      9.       Plaintiff’s First Set of Requests for Production of Documents to Jay

Shetty;

      10.      Plaintiff’s Notice of Deposition of Jay Shetty;

      11.      Plaintiff’s First Set of Interrogatories to James Brennan;

      12.      Plaintiff’s First Set of Requests for Production of Documents to James

Brennan;

      13.      Plaintiff’s Notice of Deposition of James Brennan;

      14.      Plaintiff’s First Set of Interrogatories to Radhi Devlukia Shetty;

      15.      Plaintiff’s First Set of Requests for Production of Documents to Radhi

Devlukia Shetty;

      16.      Plaintiff’s Notice of Deposition of Radhi Devlukia Shetty;

      17.      Plaintiff’s First Set of Interrogatories to Kim Perell;

      18.      Plaintiff’s First Set of Requests for Production of Documents to Kim

Perell; and


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19.   Plaintiff’s Notice of Deposition of Kim Perell.

Respectfully submitted, this 22nd day of August, 2022.

                                SPERRY IP LAW d/b/a VIVID IP
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                                Attorneys for Plaintiff and Counter-
                                Defendant Sama Camp, LLC




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